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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 08-10076-CR-MOORE


  UNITED STATES OF AMERICA,

              Plaintiff,

  v.

  ALEXIS VISCAINO CERVANTES, et al.,

            Defendants.
  ______________________________
                                   O R D E R

                THIS CAUSE is before the Court on defendant Brainer

  Gomez’ Motion for Bond Reduction (DE 107).           A hearing was held on

  the motion on November 17, 2008.       Being fully advised, it is hereby
              ORDERED   AND   ADJUDGED    that   the    motion   is   GRANTED.

  Defendant Brainer Gomez’ bond is reduced to $20,000 Corporate

  Surety with a Nebbia requirement.       All other conditions previously

  set on October 6 & 10, 2008, remain in full force and effect.

              DONE AND ORDERED in Key West, Florida, this 17th day of
  November, 2008.




  Copies to:

  AUSA Russ Brown (MIA)

  Mario Cano, Esq.

  U.S. Probation
